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IN THE UNITED sTATEs DISTRICT CoURT FEB 0 6 2007
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DAvn) PECKER, ‘F"` w M
Plaintiff, )
)
v. ) Case No.
) - vi A h P
ToM FERRIS, ) JURY DEM@BJ ?`V‘*" 11 wl
) ..\J.
Defendant. ) v ‘ “"Y EUDCL
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COMPLAINT

Plaintiff, David Pecker, for his complaint against Defendant, Tom Ferris, states as

 

follows:
THE PARTIES, JURISDICTION AND VENUE
1. Mr. Pecker resides in Boca Raton, Palm Beach County, Florida.
2. Defendant, upon information and belief, resides in Cupertino, California.
3. This Court has subject-matter jurisdiction of this cause pursuant to 28

U.S.C. §§ 1331 and 1338 because this civil action arises under the Lanham Act, 15
U.S.C. §§ 1125 and 1129, and pursuant to 28 U.S.C. § 1367 because the state-law causes
of action form part of the same case or controversy as the federal causes of action.

4. This Court has personal jurisdiction over Defendant because he caused
injury to persons and property Within this State arising out of an act by him outside this
State while he vvas engaged in solicitation activities Within this State and because

Defendant intentionally injured a resident of this State.

  

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5. Venue is proper in this Court pursuant to the provisions of 28 U.S.C. §
1391 because a substantial part of the events or omissions giving rise to Mr. Pecker’s
claims occurred in this judicial district, because the mark that is the subject of this action
is owned by a resident of this State and because the exercise of jurisdiction by this Court
over Defendant is proper.

THE CONTROVERSY
David Pecker’s High-Profile Name

6. Mr. Pecker has worked in the publishing industry for 25 years and is a
famous and highly respected businessperson in the industry. Mr. Pecker has completed
more than $3.6 billion in magazine transactions

7. Mr. Pecker has served as the Chairman and Chief Executive Offlcer of
American Media, Inc. (“AMI”) since 1999 and previously served as Chairman and Chief
Executive Offlcer of Hachette Filipachi Magazines.

8._ AMI is the leading publishing company in the celebrity journalism and
health categories. AMI publishes, among other titles, Star, National Enquz`rer, Sun,
Globe, Weekly World News, Counlry Weekly, Flex, Shape, Muscle & Fimess and Men 's
Fimess.

9. Under Mr. Pecker’s leadership, AMI has become the fourth largest
consumer magazine publisher in the country. In addition to its publications, AMI
maintains twenty separate websites, markets a variety of health and fitness DVDs and
products, owns the largest in-store merchandising company in the industry and publishes

international editions of certain of its titles.

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10. Mr. Pecker is known nationally and internationally by the name David
Pecker. Considerable goodwill has attached to his name by virtue of his position as one
of the leaders in the publishing industry. Mr. Pecker’s personal fame and reputation have
caused his name to acquire a secondary meaning

11. Mr. Pecker’s high profile name is constantly being used to promote Al\/[I
and is inextricably linked in the public mind with AMI. His biography and photograph
are displayed on AMl’s website at http://www.americanmediainc.com/exec_bio.htm. A
true and correct copy of this webpage, visited Feb. 5, 2007, is attached hereto as Exhibit
A.

12. As Chairman and Chief Executive Offlcer of AMI, Mr. Pecker is often the
subject of media attention and is widely recognized as a leader in the publishing industry.

13. A Google search for Mr. Pecker’s name produces approximately 396,000
results. A true and correct copy of a Google search for the name David Pecker conducted
February 5, 2007, is attached hereto as Exhibit B.

14. Mr. Pecker has been listed as one of the “Media’s 100 People to Know.”
See Media Post Publications, Media’s 100 People to Know, at
http://publications.mediapost.com/index.cfm?fuseaction=Articles.showArticle&art_aid=l
587, a true and correct copy of which is attached hereto as Exhibit C.

15. As another example, the following exchange occurred on CNN’s Larry
King Live during a discussion with Sylvester Stallone about the actor’s new magazines

KING: So you need backers. How did this all come about?

STALLONE: I had known David Pecker, who was the star and

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KING: But he knows his magazines

STALLONE: He knows his magazines And he runs American Media and
he responded right away and you are right.

A true and correct copy of the transcript of CNN’s Larry King Live dated May 14, 2005,
is attached hereto as Exhibit D.

16. Mr. Pecker is also frequently interviewed by the media, including on
television. For instance, he has appeared on CNN’s Larry Kz'ng Live and on CNBC’s
Specz`al Report with Marz'a Bartl`romo.

Defendant’s Misconduct

17. Defendant is the registrant of the domain name davidpecker.com (the
“Domain Name”). Defendant registered the Domain Name on or about February 23,
2006, with domain-name registrar eNom, Inc. of Bellevue, Washington.

18. Defendant has used the Domain Name on an lntemet “parking service,”
Sedo, where advertisements are displayed based on keywords and the domain-name
owner is paid for clicks. While Defendant used the Domain Name on the Sedo parking
service, the name was linked to pornographic websites labeled as “hardcore,” “xxx” and
“freaky sex.” Defendant has also used the Domain Name on the Sedo parking service to
invite others to purchase the Domain Name.

19. Upon discovering Defendant’s use of the Domain Name on the Sedo site,
AMI’s counsel contacted Sedo immediately and demanded removal of the links to the
pornographic websites. AMI’s counsel also offered to purchase the Domain Name for

3100. Sedo removed the links, but the offer to purchase the Domain Name was rejected

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on the grounds that the minimum bid was $1,000.

20. Defendant subsequently contacted AMI’s counsel in Florida via telephone
and offered to sell the Domain Name to Mr. Pecker for $l,600. That offer was rejected
and negotiations continued until Defendant, while agreeing to sell the domain name for
$600, demanded an additional 315,000 to forgo registering other domain names including
the name “Pecker.”

21. Mr. Pecker did not authorize Defendant to use or register the Domain
Name.

22. Upon information and belief, Defendant has never been known by the name
David Pecker.

23. Defendant has not made any legitimate noncommercial or fair use of the
Domain Name. Defendant has not used the Domain Name in connection with any bona
fide offering of goods and services Defendant’s use of the Domain Name has been to
divert consumers to pornographic websites and as a mechanism to attempt to sell the
Domain Name.

24. Defendant’s original registration of the Domain Name listed in the
technical contact information the telephone and facsimile numbers of Axis Web Site
Development, a Rhode Island company owned by Paul DiCecco. Mr. DiCecco was the
respondent in a previous World Intellectual Property Organization (“WIPO”) domain-
name dispute, General Growth Propertl`es, [nc. v. Paul DiCecco, Case Number D2006-
0657. The panel in that dispute found that Mr. DiCecco registered a domain name with

no legitimate basis and used the domain name, in bad faith, to link Intemet users to an

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adult website. Mr. DiCecco was also named as a defendant in a lawsuit claiming that he
used a domain name illegally to lure unsuspecting children to a pornography website.
Defendant confirmed to AMI’s counsel that the fax number listed in his original
registration of the Domain Name was that of Mr. DiCecco. After Defendant’s
conversations with Mr. Pecker’s counsel regarding the reference to Mr. DiCecco, direct
references to him were removed from the registration information for the Domain Name.

25. Mr. Pecker’s name and goodwill have been tamished by Defendant’s
associating Mr. Pecker with pornographic websites. Defendant has made a patent
commercial use of the Domain Name by using Mr. Pecker’s well known name in the
publishing industry to attract Intemet users to those pornographic websites,

26. In addition, Defendant registered and has used the Domain Name with the
bad-faith intent to profit from said use.

27. Defendant’s conduct has caused Mr. Pecker to lose control over the
reputation and goodwill associated with his personal name, as well as other immeasurable
damages For the harm and loss Mr. Pecker has suffered and for the harm and loss that
will continue but for intervention of this Court, Mr. Pecker has no adequate remedy at
law. Unless Defendant is enjoined from further misuse of the Domain Name, Mr. Pecker
will suffer irreparable harm because the damages sustained will be immeasurable,
unpredictable and unending. Moreover, the Lanham Act specifically provides for
injunctive relief. See 15 U.S.C. § 1116.

28. Defendant’s misuse of the Domain Name is intentional and willful.

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COUNT I
(Violation of Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1129)

29. The allegations of paragraphs 1-28 of the Complaint are adopted and
incorporated by reference.

30. The Domain Name consists of the name of another living person,
specifically, Mr. Pecker.

31. Defendant registered the Domain Name without Mr. Pecker’s consent, and
did so with the specific intent to profit from such name by selling the Domain Name for
financial gain to Defendant or any third party.

32. As a result of Defendant’s conduct, Mr. Pecker is entitled to injunctive
relief, including transfer of the domain name to Mr. Pecker, and costs and attorneys’ fees

COUNT II
(Violation of Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d))

33. The allegations of paragraphs 1-28 of the Complaint are adopted and
incorporated by reference.

34. Mr. Pecker’s personal name, David Pecker, is protected as a mark under 15
U.S.C. § 1125 and has become distinctive through use of his name in promoting AMI and
as a result of Mr. Pecker’s longstanding reputation in the publishing industry.

35 . The Domain Name is identical or confusingly similar to Mr. Pecker’S
personal name.

36. Defendant has used, and continues to use, the Domain Name with the bad-

faith intent to profit from said use.

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37. Upon information and belief, Defendant’s legal name is not “David
Pecker,” nor is such name commonly used to identify Defendant.

38. Upon information and belief, Defendant has no trademark or other
intellectual-property rights in the Domain Name,

39. Defendant has not used the Domain Name in connection with the bona fide
offering of any goods or services

40. Defendant has made no bona fide noncommercial or fair use of the name
“David Pecker” in a site accessible under the Domain Name,

41. Defendant intended to divert consumers through use of Mr. Pecker’s well
known name to a site accessible under the Domain Name that could harm the goodwill
represented by the name, for commercial gain or with the intent to tamish or disparage
the name, by creating a likelihood of confusion as to the source, sponsorship, affiliation,
or endorsement of the site.

42. Defendant offered to sell the Domain Name to Mr. Pecker, the rightful
owner of the name, for financial gain without having used, or having an intent to use, the
Domain Name in the bona fide offering of any goods or services

43. Defendant’s conduct as described above has caused irreparable and
substantial harm to Mr. Pecker and his reputation and goodwill.

44. As a direct result of Defendant’s conduct, Mr. Pecker has been substantially
harmed. Accordingly, Mr. Pecker seeks recovery from Defendant of all amounts to
which Mr. Pecker is entitled, including, without limitation, Defendant’s profits from use

of the Domain Name, an award of actual damages in the maximum amount permitted by

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law, or, in the alternative, an award of the maximum statutory damages in the amount of
$100,000, transfer of the domain name to Mr. Pecker, a preliminary and permanent
injunction, attomeys’ fees, the costs of the action and any additional amount that the
Court considers just.

COUNT III
(Federal Unfair Competition, 15 U.S.C. § 1125)

45. The allegations of paragraphs 1-28 of the Complaint are adopted and
incorporated by reference.

46. Defendant’s actions described above have caused, and are likely to continue
to cause, confusion, or to cause mistake, or to deceive the public as to the affiliation,
connection or association of Mr. Pecker with Defendant, or as to the origin, sponsorship
or approval of the website and the content linked to the website by l\/Ir. Pecker in
violation of 15 U.S.C. § 1125.

47. Such wrongful acts and unfair competition by Defendant have caused, and
are likely to continue to cause, Mr. Pecker to incur substantial damages Accordingly,
Mr. Pecker seeks recovery from Defendant of all amounts to which Mr. Pecker is
entitled, including, without limitation, Defendant’s profits from use of the Domain Name,
all damages sustained by Mr. Pecker, attorneys’ fees, the costs of the action and any

additional amount that the Court considers just.

COUNT IV
(Common-Law Unfair Competition and Misappropriation)

48. The allegations of paragraphs l-28 of the Complaint are adopted and

incorporated by reference

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49. Defendant’s conduct constitutes unfair competition and misappropriation in
that such acts permit, and will continue to permit, Defendant to use and benefit from Mr.
Pecker’s goodwill and reputation to profit from Mr. Pecker’s personal name on the basis
of reputation not established in Defendant’s own right, at the expense of Mr. Pecker.

50. Defendant’s continuing use of the Domain Name will continue to constitute
acts of unfair competition by Defendant against Mr. Pecker, thereby causing irreparable
harm to Mr. Pecker.

51. The foregoing acts of Defendant accordingly constitute unfair competition
and misappropriation in violation of applicable state common law. Mr. Pecker is
therefore entitled to the damages resulting from Defendant’s actions, including injunctive

relief.

COUNT V
(Violation of Right of Publicity, Florida Statutes § 540.08)

52. The allegations of paragraphs 1-28 of the Complaint are adopted and
incorporated by reference.

53. Defendant has published, displayed or otherwise publicly used for purposes
of trade or for a commercial or advertising purpose the name or likeness of Mr. Pecker in
the Domain Name without the consent of Mr. Pecker or anyone authorized by Mr. Pecker
to provide consent.

54. The foregoing acts of Defendant violate Florida’s statutory right of

publicity law, Fla. Stat. § 540.08. Mr. Pecker is therefore entitled to damages, including

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exemplary and punitive damages, as well as injunctive relief preventing use of Mr.
Pecker’s name or likeness in the Domain Name,

COUNT VI
(Common-Law Invasion of Privacy)

55. The allegations of paragraphs 1-28 of the Complaint are adopted and
incorporated by reference.

56. Defendant has misappropriated Mr. Pecker’s name and likeness by
commercial exploitation of Mr. Pecker’s name in the Domain Name,

57. Defendant has publicly portrayed Mr. Pecker in a false light by falsely
suggesting that Mr. Pecker willingly participated in and endorsed Defendant’s use of Mr.
Pecker’s name in the Domain Name.

58. The foregoing acts of Defendant constitute invasions of privacy in violation
of applicable state common law. Mr. Pecker is therefore entitled to the damages resulting
from Defendant’s actions, including injunctive relief.

QM
(Florida’s Unfair and Deceptive Trade Practices Act, Fla. Stat. §§ 501.201 et seq.)

59. The allegations of paragraphs 1-28 of the Complaint are adopted and
incorporated by reference.

60. Defendant used Mr. Pecker’s name without his permission in a manner
falsely suggesting that Mr. Pecker has endorsed the Domain Name or the websites to

which the Domain Name was linked.

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61. The foregoing acts of Defendant violate Fla. Stat. § 501.204(1). Mr. Pecker
is therefore entitled to damages, attorneys’ fees and costs, as well as injunctive relief

preventing use of the Domain Name,

COUNT VIII
(Application for Injunctive Relief)

62. The allegations of paragraphs 1-28 of the Complaint are adopted and
incorporated by reference.

63. Defendant’s actions have caused, and are continuing to cause, substantial
and irreparable damage to Mr. Pecker for which there is no adequate remedy at law, Mr.
Pecker is, therefore, entitled to an injunction preventing Defendant’s continued
misconduct, including an injunction against Defendants’ continued use of the Domain
Name, Defendant has improperly used, and will continue to improperly use, the Domain
Name unless prevented from doing so by this Court. While Defendant illegally uses the
Domain Name, Mr. Pecker will continue to lose control over his reputation and goodwill
and the public and consumers will continue likely to be confused, misled, and deceived
by the use.

64. Mr. Pecker requests that Defendant, and all persons acting in concert with
him, be enjoined from using the Domain Name, and that Defendant be ordered to file
with the Court and serve on Mr. Pecker within thirty days after the service on Defendant
of such injunction, or such extended period as the Court may direct, a report in writing
under oath setting forth in detail the manner and form in which Defendant has complied

with the injunction.

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65. Pursuant to 15 U.S.C. § 1125(d), Mr. Pecker further requests that the Court
enter an order requiring Defendant to transfer the Domain Name to Mr. Pecker.

WHEREFORE, Mr. Pecker prays for the following relief:

1. That Defendant and all persons acting in concert with him be preliminarily
and permanently enjoined from using the Domain Name, and that Defendant be ordered
to file with the Court and serve on Mr. Pecker within thirty days after the service on
Defendant of such injunction, or such extended period as the Court may direct, a report in
writing under oath setting forth in detail the manner and form in which Defendant has
complied with the injunction;

2. That Defendant be ordered to transfer the Domain Name to Mr. Pecker;

3. That Mr. Pecker receive and recover from Defendant all of Defendant’s
profits from use of the Domain Name;

4. That Mr. Pecker receive and recover from Defendant all damages sustained
by Mr. Pecker;

5. That Mr. Pecker receive and recover from Defendant statutory damages in
the maximum amount allowed by the Lanham Act and under applicable state statutory
and common law;

6. That Mr. Pecker receive and recover from Defendant exemplary and
punitive damages;

7. That Defendant be ordered to pay Mr. Pecker his reasonable costs, expenses

and attomeys’ fees incurred in prosecuting this action, including any appeal;

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8. That Mr. Pecker be awarded pre and post-judgment interest to the
maximum extent allowed by law; and
9. That Mr. Pecker be awarded such other and further relief to which he may

be justly entitled.
JURY DEMAND

Mr. Pecker respectfully demands a trial by jury of all issues so triable

DATED: February 5 , 2007
Nashville, Tennessee

Respectfully submitted,

rlnf

Vvv

T mothy is `Warnock

Bowen Riley Wamock & Jacobson, PLC
1906 West End Avenue

Nashville, Tennessee 37203

Phone: (615) 320-3700

Fax: (615) 320-3737
twamock@bowenriley.com

Fla. Bar No. 850489

Attorneys for Plaintiff, David Pecker

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American Media, Inc. - Home

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Chairman and Chief Executive Officer

Prior to acquiring American Media, |nc. in 1999, Mr. Pecker was President

and Chief Executive Officer of Hachette Filipacchi Magazines. Previous|y,

Mr. Pecker had served as Executive Vice President, Chief Operating Officer and
chief Financial Offlcer for Hachette Magazines, lnc., formerly

Diamandis Cornmunications lnc.

During his 25-year career, Mr. Pecker has completed more than $3.6 Billion in
magazine transactions

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President and Chief Operating Officer

Mr. Mi||erjoined American Media in January of 2006 after nearly 30 years as an
executive with Hachette Filipacchi Media. Most recently he held the position of
Senior Vice President, Group Pub|ishing Director of the Women's Service and
Shelter Division of Hachette overseeing six magazines and five websites.

Previousiy, Mr. Mi||er had served as Senior Vice President, Group Pub|isher of
the Hachette Home group and Vice President and Publisher of the Photography
Magazine Group in addition to several financial management positions

During his career Mr. Mi||er has served as an individual Pub|isher of five
different magazines

 

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Executive Vice President and Chief Financia| Otficer

Jack Craven is a senior publishing executive with an excellent track record of
growing publishing operations Prior to forming his own CPA practice, he was
Executive Vice President and Chief Flnancia| Officer of Time lnc.'s Retai|
Marketing and Sa|es organization He also served as Deputy Director of
Strategic Planning at Time |nc. Mr. Craven’s experience also includes
directing the world-wide operations of Jobson Publishing, where he served as
Senior Vice President Operations and Chief Financial Officer. Mr. Craven was
the Senior Vice President and Chief Financia| Officer for Lear's and McCall's
publishing companies He is the former Chairman of the New York State
Society of CPAs Pub|ishing & Printing Committee, and a member of the
American lnstitute of Certified Pub|ic Accountants. Mr. Craven has been
licensed as a CPA since 1974.

Bonnie Fuller
Executive Vice President Chief Editorial Director

Bonnie Fuller was named EVP, chief editorial director of American Media, lnc. in
Ju|y 2003. ln this newly created position, she is charged with overseeing AMl‘s
week|y, bi-weekly and monthly magazines in addition to monthly specia|s.

Prior to AM|, Fuller was the editor in chief of Us Week|y where she restructured,
redesigned, and repackaged the then Us magazine. Under Fuller's charge, she
increased newsstand sales over 100%. For her achievements Ms. Fuller was
named Advertising Age's Editor of the Year.

 

 

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David Pecker / Jossi

Star's Boss David Pecker Joins the Fun of Delivering a Story He Won't Stick AM| chief
David Pecker is going to keep editorial director Bonnie Fuller as
Www.jossip.com/gossip/david-pecker/ - 94k - Feb 3, 2007 - Q`ached - Similar pages

l\/ionday
Four years ago1 David Pecker took over American Media, publisher of the Nationa|

Enquirer and the Stat. Since then, he’s been busy.
www.media|ifemagazine.com/newsZOO3/augO3/aug25/1_mon/news3monday.htm| - 26k -
Cached - §i_nli|ar pages

NEWSl\/lEAT David Pecker's Federa| Campaicin Contribution Report
Pecker, David Boca Ratonl FL 33432 American Media lnc/Chairman/CEO, CLARK,
Receive an alert every time new records are added to David Pecker's report.
www.newsmeat.com/medla_po|itical_donations/David_Pecker.php - $i_mila_rv pages

inquiring Minds Want Resu|ts

Times are tougher for David Pecker's tabloid empire. This is the reality facing David
Pecker as chairman and CEO of American Media lnc., publisher of
Www.businessweek.com/magazine/content/05_40/b3953027.htm - 59k -

Qa_ched - .S._.imila.r pages

CNN.com - Transcribts

We begin with David Pecker. He joins us from West Palm Beach. lt is certainly OK -
certainly understandable for David Pecker to say something has gone
transcripts.cnn.com/TRANSCR|PTS/Oi10/10/lk|.00.html - 68k - _Cached - §MLQ§Q§§

Turninq tabloids: can David Pecker diversifv American Media bevond
Turning tabloids: can David Pecker diversify American Media beyond tabloids and ready
the company for an |PO? from South Florida CEO in Business & Finance
www.findarticles.com/p/artic|es/mi_mOOQD/is__i0_7/ai_n75794i1 - 34k -

flashed - §im_i_lar_pages

Send a Letter to David Pecker

Mr. David Pecker CEO American Media, |nc. 5401 N.W. Broken Sound Blvd. Boca Raton,
FL 33487. Dear Mr. Pecker:. l want to congratulate you for the good work
www.aim.org/publications/aim_report/2001/postcards/O€/pecker.html - 2k -

Qa___c__,h,ed - Similar.pag.es

David Pecker - Gawker

You can't even win in magazine publishing by appealing to the lowest common
denominator, as tabloid king David Pecker is learning the hard way. continue
gawker.com/news/david-pecker/ - 28k - Qaci‘@gi - §m_ilar pages

'Star' Publisher David Pecker: |'m Richi - Gawker

David Pecker, American Media head and publisher of the Star, gives a fairly softball
interview to WWD today. Let's summarize:

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§ 15

 

http://Www.google.com/search?hl=en&q=david+pecker2/5/2007

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HOME - CLASSIF|EDS ~ MANAGE SUBSCR|PT|ONS ~ COMMUN|TY - EVENTS - MED|A K|T - HELP

 

 

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Media’s 100 People to Know

by Joe Mandese, March 2004 issue

Compiling a list is never the simple task you might think it is when you
start putting it together. Creating one that is comprised of names that
anybody in an industry should know proved an especially difficult one. lt's
not that we struggled to come up with the 100 names on MEDlA Magazine's
list, so much as we had a hard time whittling it down from the hundreds
more that could - and maybe should - have been on the list.

|n the end, we opted to keep it to 100, but that doesn't mean these names
are necessarily the most important in the world of media planning and
buying, though some of them clearly are. They're just really important
people - some whom you've undoubtedly never even heard of - that we
think you should know. Some of them, like Group M's irwin Gotlieb or
Viacom's Mel Karmazin are incredibly powerful and have the ability to
move the entire media marketplace almost single-handedly. But this list is
not about the most powerful people. Others, like Carat's David Verklin or
Starcom`s Kate Lynch are doing innovative things that are transforming
their organizations and, indirectly, the organizations of the people who
compete or work with them. But this list is not about the most innovative

people.

Still others are extremely influential people, like Procter & Gamble`s Jim
Stengel, or consultant Erwin Ephron, who can merely utter - or scribe - a
few words and get an entire industry to think differently about itself. But
this list is not about the most influential people.

it's about all of those kinds of people and many others who likely are not
classifiable, but who in some small or great way have the ability to shape
the world of the people who read MED|A Magazine. |n the end, you may
call it an eclectic list. |ndeed, there was no scientific rationale or
methodology behind its selection. The only criteria was that we thought
these were people you deserved to know something about.

As it happens, some of the people on this list that you likely have not
heard of - like Magna Global's econometric modeling guru Brian Wieser, or
Visibie World founder Seth Haberman, are doing things now that will
change the way you do business a year from now. Others, like Billetts'
John Billett, SQAD's Larry Fried, Media lQ's Mike Lotito, or Starcom's
Renetta McCann are doing things now that will change the way you do
business during the next year.

 

j Finally, some on this list - like OMD`s Page Thompson, Turner's Barry

 

 

Today's Most Read
‘ 1. Time inc. attys into web 2.0 l

2. Couhtdown to Super Bowl: 10 Sites To
See

;3. i_ooney Toon Promo Shows How Viral
Can Spirat Out Of Controt

`4. ComScore Offers Ad Network Metrics

`5. NBC Universai Digitai Restructures l

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Fischer, or professor John Philip Jones - are just really smart guys we
thought you should know about.

Jonathan Adams

media director

Modem Media

When it comes to interactive media connections, he's strictly high-speed.

David Ade|man

l dir. of media futures innovation Johnson & Johnson

it may be his brand, but he's not developing band-aid approaches to media
futures.

Andrea Aistrup

vice president-advertising

‘ Johnson & Johnson

Driving advertiser-supported productions, and family-friendly, too.

Tim Armstrong
4 vice president-advertising sales Google
‘ Key word: Big. And getting bigger fast.

John Billett

chairman

John Billett's auditing, performance monitoring, and market modeling
services have transformed the U.K. media marketplace, and his new MPMA
service - headed by P.J. Leary - promises to do the same. MPMA has an
exclusive deal to utilize the real market cost data in SQAD's new NetCosts
system (SQAD chief Neil Klar and consultant Erwin Ephron are also
principals in MPMA) and is overlaying that with even more detailed market
l data from a burgeoning list of blue chips marketers.

Like Mike Lotito`s Media iQ (see close-up in this report), MPMA applies this
real market data to evaluating the performance of media buying shops and
helps provide them direction. So far, agencies have been loath to embrace
the process, but they may have no choice since MPMA works for their
clients. Watch for the ownership of agency buying data to emerge as a
major sticking point this year.

Nick Brien

president-corporate business development

Starcom MediaVest Group.

He manages to make below-the-line seem sexy. And if he didn`t actually
coin it, he at least popularized the concept of media creativity.

Michael Browner

executive director-media and marketing operations

General Motors

The media muscle in Motown. GM still controls the second largest budget
behind P&G.

Joanne Burke

EVP-managing director

Carat insight

Media research's ultimate insight-er, even if she is a bit of an insider.

Donna Campanel|a

director/team leader-media Pfizer

She`s taken direct-to-consumer directly to the bank, making Pfizer a top
10 advertiser.

 

 

i ira Carlin

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CEO

Magna Global

Keeping lnterpublic one of the Big 3 in media buying with a goal of being
l No. 1.

MT Carney

SVP-dir. of channel acct. planning

Universal McCann

A British ex-pat, she's applying the art of account planning to media.

Anja Carroil

director of U.S. media McDonald's Corporation

The gold behind the Golden Arches. |f you're on her buy list, you're
definitely Lovin' it.

John Connolly

SVP/out-of-home media
MediaCom Worldwide

j Bringing outdoor inside - the mix.

Charies Courtier

CEO

Mediaedge:cia

Head of WPP's other media network. He may have the wrong accent, but
he's got the "bravery" to get Mediaedge:cia a greater share of mind.

Kathy Crawford

president-local broadcast group

MindShare

She's putting ED| (electronic data interchange) on the spot.

Sean Cunningham

president

l Just when you thought ad trade bureaus had grown stale and moribund,
along comes a guy with plans to turn the business on its head. Now if Sean
Cunningham can get the CAB's highly political board of directors to go
along, the cable industry will gain new ground on Madison Avenue.

Cunningham, who was executive vice president-managing director at
Universal McCann before joining the CAB, is already shaking things up. One
of his first acts was making the tough call to scrap the CAB's annual
conference for 2004. The trade show, once a must-go-to event for media
planners and buyers had grown tired, so Cunningham opted to take a
breather.

His next move, hiring initiative Media research chief lra Sussman to run
the CAB's research budget.

Susan Danziger

director of advertising

Kraft Foods

Crafting smarter media strategies.

Bob DeSena

dir. of relationship marketing

Masterfoods USA

l Master of the food category advertising universe.

 

Dyian Doherty

dir. of advertising procurement

Diageo PLC

When the networks balked, Diageo walked and he created an unwired

 

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network to air its spirit ads.

Paul Donato

SVP-chief research officer Nielsen Media Research

He is the smartest guy in media research (outside of an agency or a
network). He`s also Nielsen's best hope of making the transition to a
clickstream, set-top ratings world.

Andy Donchin
EVP-dir. of national broadcast Carat
No longer the new kid on the block, eyes will be on him this upfront.

Stuart Elliott

famous Brook|ynite and advertising columnist
The New York Times

All the ad news that's fit to print.

Erwin Ephron
consultant/expert on media planning, strategy and research
l The guru, need we say more?

Steve Fajen

head of the media services practice

Morgan Anderson Associates Submitted for your review. A former media
director, he now directs media account reviews.

Steve Farei|a

CEO

TargetCast TCM

The agency media boutique chief most likely to keep the big agency media
chiefs up at night.

Sara Fay

president

Carat interactive

, She assembled the most strategic and planning-oriented interactive media
team in the business

Beth Fidoten

managing director for pn'nt and market convergence
initiative Media

4 if the newspaper medium has a maven, she's it.

Lauren Rich Fine

chief ad industry analyst

Merril| Lynch

She`s on two neighborhood watch groups: Wall Street's and Madison
Avenue's.

Barry Fischer

EVP-market strategy

Turner Broadcasting System

Fischer is the major broadcast networks' worst nightmare: a former top
television buyer with an intimate knowledge of how the marketplace
actually works and the wherewithal to use it.

 

before joining Turner as head of sales marketing in 1996, has slowly and
steadily been moving the needle for Turner by moving the ball from the

t Fischer, who handled buying for Procter & Gamble and Ford Motor Co.,
ll broadcast networks to the cable industry.

 

How's he doing this? Through irrefutable research that capitalizes on the

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j pressure most marketers and agencies are under to meet their rating point
` goals with limited advertising budgets. While Madison Avenue was well
familiar with the erosion of network rating points, their media plans
seemed stuck in some kind of stasis until Fischer's Millennium studies
demonstrated how they could - and should - easily move budgets from
broadcast to cable without losing any reach.

Larry Fried

chief revenue officer

SQAD

Fried, and his boss Neil Klar, have managed to do what Reuters and Dow
Jones & Co. and even Enron each tried, but failed to do: create a Wall
Street-like financial database of network TV advertising transactions based
on real data and, more importantly, real costs. The system, NetCosts, is so
good, it's better than the data the networks have themselves

While the system, which goes live in April, has - not surprisingly - been , l
met with resistance from the big agencies and networks, marketers have
embraced it. They have provided enough proprietary TV ad cost data, that
l NetCosts is now based on more than 40 percent of all network advertising
deals, a database rich enough to be representative and projectable. Who
uses the system and how it is used could dramatically alter the network
advertising marketplace, including upfront and scatter price negotiations

Gary F ries

president-CEO

Radio Advertising Bureau

investing millions in research and marketing to get radio back in the mix.

Monica Gadsby

managing director-chief investment officer
Tapestry

The reason for our consensus: the U.S. Census.

Peter Gardiner

media director

Deutsch

He deals with Donny and The Donald. He also may be the last of a kind: an
old school media director at a major, full-service ad agency

Biii Gates

chairman

Microsoft

A media player, both in front and behind the scenes. And we're not just
talking MSN, MSNBC or Windows. Think Comcast.

Adam Gerber

SVP-director of strategy and innovation
MediaVest

Vesting the future of media.

Saul Git|in

media director

Kang & Lee Advertising

Because East is East and West is West, this Asian American media
specialist is the one who's making the twain meet.

 

Marc Goldstein

CEO

MindShare

The main reason MindShare ran a close second for our 2003 Media Agency
of the Year. That, and the $1 billion in new billings he picked up.

 

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irwin Gotlieb

CEO

Group M

Of the Big 3 media buying networks - lnterpublic's, Omnicom's, and WPP's -
WPP's Group M is perhaps the most integrated and that's due largely to the
l clout and acumen of irwin Gotlieb. The formation of GroupM, which
oversees and coordinates the buying strategies of WPP's MindShare and
Mediaedge:cia networks, is the fulfillment of Gotlieb's plan to amass all of
WPP's buying clout into a single massive entity that can share market
intelligence and influence the advertising marketplace

Gotlieb, who joined WPP in 1996 after running D'Arcy's MediaVest unit
(now part of Publicis' Starcom MediaVest Group), oversaw the
consolidation of the media departments of Ogilvy & Mather and J. Walter
Thompson into MindShare.

Andrew Green

managing director

Billetts Connections

When Andrew Green resigned as managing partner and director of the
Communication insights Group at OMD to join U.K.-based media auditor
Billetts, it turned a lot of heads on Madison Avenue. After all, Green was
regarded as one of the most powerful agency media directors and wielded
tremendous influence over the industry. lt also raised eyebrows, because
some agencies feared that Green might use his insider knowledge of
agency media operations against them.

 

|nstead, Green is developing a new kind of media research operation that
will create new, proprietary tools to give Billetts' marketing clients an
edge in the media marketplace,

Steve Greenberger
SVP-director of print media Zenith Media
Establishing a disciplined, TV-like approach to magazine ad negotiations

Perianne Grignon

director of media services

Sears, Roebuck and Co.

The leader in retail -or e-tail -media buying.

Seth Haberman

founder & president

Visibie World

For advertisers and agencies, interactive television has been a true
paradox. While the ability to custom target advertising messages to
individual TV viewers may ultimately prove more effective than traditional
TV advertising, the cost of producing the many spots necessary to do that
is still prohibitive, especially given the still emerging scale of interactive
TV systems.

Haberman's Visible World wants to change that. The company, part digital
TV ad distribution service, part digital production facility, part advertising
creative department, works with advertisers and agencies to "version"
conventional TV ads into a multitude of discreter targeted advertising
pitches.

Most importantly, it's doing this at a fraction of the costs to make a typical
30-second TV spot.

Tim Han|on
VP-director of emerging contacts
Starcom MediaVest Group Because he's got the best contacts.

 

 

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Tim Harris & PJ MacGregor

i directors of the Piay videogame development division of Starcom

l MediaVest Group

Aside from having the best job since L'il Abner, this dynamic duo is
teaching marketers how to play the video game. With video gaming
emerging as a big factor, especially among teen and young adult males,
Play represents a new kind of marketing service for a major media shop.
Part entertainment marketing, part media buying unit, the team keep an
eye on new software and gaming platforms to see if there are natural tie-
ins for brands.

John Hayes

chief marketing officer

American Express

A platinum card-carrying member, Hayes' team continues to surprise the
media marketplace.

Steve Heyer

president-COO

Coca-Cola Co.

Even if he is the boss now, he's still a media guy who is can send
entertainment vines creeping up and down Madison Avenue.

Dawn Hudson

president

Pepsi-Cola North America.

,\ The media strategy of a new generation.

George |vie

executive director

Media Rating Councii

Our favorite media mechanic. He's the guy poking around under the hoods
of Nielsen, Arbitron, MR|, and others to make sure their engines are
running on all cylinders.

Karen Jacobs

EVP-director of print investment
Starcom Worldwide

Two words: print diva.

Tony Jarvis

director of strategic insights

MediaCom Worldwide

As a young Olympian, he competed against Mark Spitz, now he's swimming
laps around the media research community.

John Philip Jones

professor Newhouse School

Syracuse University

His research and collaborations with Erwin Ephron have revolutionized TV
planning, now he's trying to do the same for print.

Mark Kaline

l global media manager

Ford Motor Co.

Have you driven a Ford media plan, lately? All we have to say is one letter
and three numbers: F150.

Me| Karmazin

president and CEO

Viacom

While many media company chiefs get involved in advertising sales

 

 

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strategies, few if any have been as involved with setting the overall sales
agenda as Viacom's Mel Karmazin.

For right or wrong (mostly right), Karmazin has called CBS` upfront sales
strategy each year since the Tiffany Network was acquired by Viacom.
Combine that with the kid, teen, and young adult marketplace clout of
MTV Networks and Karmazin is holding great sway over Madison Avenue.
After two successive years of painfully strong upfront advertising
marketplaces advertisers and agency executives will be watching
Karmazin's moves this spring especially closely.

William Kashimer
dir. of U.S. media/advertising Coigate-Palmolive Co.
Delivering the goods for packaged goods.

Michaei Keliy

chairman and CEO

America On|ine

Getting America - and Madison Avenue - back online.

Jason Klein

president and CEO

Newspaper National Network

if newspapers can ever be made a national medium, Klein will be the one
to do it.

Jack Klues

chairman and CEO

Starcom MediaVest Group

He runs the top worldwide media services company, but still manages to
do it with Midwest aplomb and sensibility.

Jane Lacher

dir. of research and consumer context planning

MediaVest

in a world of media, she reminds us, it's all about the consumer.

Michaei Lao

VP-g|obal media

MasterCard international

Because most media opportunities are not priceless.

Maurice Levy

chairman and CEO

Publicis Groupe

Charting a new constellation of media services with Starcom MediaVest
and Zenith Optimedia.

Bob Liodice

president and CEO

Assoc. of National Advertisers

When John Sarsen retired after years of running the Association of
National Advertisers, Bob Liodice was waiting in the wings. Following a
brief stint as interim chief, Liodice was named permanent head of the
association at one of the most critical junctures in its history.

 

`. During Sarsen's tenure, relations with Madison Avenue had grown chilly,
the media marketplace had fragmented into a million bits and marketers
were facing more challenges than ever before.

 

Liodice is rebuilding bridges with ad agencies and, like the organizations
l of his members, has embraced an ROl approach for the ANA.

 

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Michaei Lotito

president and CEO

Media |Q

Mike Lotito has always been someone to watch in the media business.
Whether it was as a young media director at Ammirati & Puris, or as head
of mega shop initiative Media, Lotito always seemed destined to change
the business. He got close to doing that in his last job.

As head of Mediaport, Lotito got the Big Three agency holding companies -
interpublic, Omnicom and WPP - to back an ambitious plan that would
have created a new, state-of-the-art electronic trading system for the

l media marketplace, When Mediaport became a casualty of the advertising
recession, Lotito turned his attention to media auditing and is considered
in a neck-and-neck race with John Billett's Media Performance Monitor
America, to develop the media auditing market for blue chip advertisers

Kate Lynch

SVP-globa| research director

Starcom Worldwide

You can blame her for optimizers (in the U.S.) and just about anything else
l innovative in agency media research.

Jon Mandel

co-CEO/giobai buying officer

MediaCom Worldwide

l He's conquered the networks, now, as MediaCom's global buying officer,
he's setting out to conquer the world.

Renetta McCann

president and CEO

Starcom North America

Even if she has the wrong last name, she still runs the shop that has been
described as "the closest thing to the media agency of the future."

McCann, who joined Leo Burnett`s media department in 1978, has watched
and taken part of the agency's transformation. Now, as chair of the
American Association of Advertising Agencies' Media Policy Committee,
she's setting out to transform the industry. McCann, who came into that
post with a mandate to shake things up, is doing just that. She`s made
media accountability the focal point of the AAAA committee`s charter and
is tackling incredibly sensitive issues like industry guidelines for media
auditing.

Wenda Harris Miilard

chief sales officer

Yahoo!

Expanding the Web portal's portfolio.

Kurt O'Hare

president

O'Hare Associates

lf you're working at a media shop, or hoping to, O'Hare is recruiter you
want to know.

Eilen Oppenheim

EVP-chief marketing officer

Magazine Publishers of America

Making the best of tough times for magazine publishers She's positioning
the medium for its turnaround.

 

 

Marjorie Orne|as
president and CEO

 

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Ornelas & Partners
Lot's of reasons, mostly in Spanish.

David Pecker

CEO

American Media.

Enquiring minds will want to know what this publishing vet will try next.

Dave Poltrack

EVP-planning and research, CBS

Quite possibly the smartest guy in media research - outside of an ad
agency, of course. He's so good, the press actually believe him when he
spins Nielsen ratings data.

Tony Ponturo

VP-giobai media and sports marketing
Anheuser Busch

The brewmeister's mediameister.

Michaei Powell

chairman

Federal Communications Commission

Making the world safe for mega media companies (and from bare-breasted
pop stars).

Robert Riesenberg

president and CEO

Omnicom Entertainment Enterprises

if content is king, Riesenberg will give Omnicom clients the keys to the
kingdom.

Brian Roberts

president and CEO

Comcast Corp.

(And someday, maybe Walt Disney Co.) Without or without the Magic
Kingdom, Roberts has emerged as the media titan to watch.

Fernando Rodes

global CEO

MPG

You could say media planning is in Fernando Rodes' blood. Rodes' father is
considered by many to be the father of media planning.

Now this Barcelona-based media conquistador is planning to transform
Havas' burgeoning media network into one of the industry's biggest and
most strategic. Exactly how he's doing that isn't clear since he rarely
speaks publicly about it, but insiders say MPG's business model includes a
heavy dose of proprietary research, as well as the exchange of best
practices across media markets.

Havas management has set a goal of making MPG one of the top five media
networks in the world over the next couple of years.

Alan Schulman

founder

Brand New World

As the first "creative director" of a major media shop Alan Schulman was a
name to know and a person to watch over the past year. Now, after
stepping down from Universal McCann to form Brand New World, a media
shop focused on the next generation of interactive media technologies,
Schulman and partner Alan Feldenkris (former head of interactive
marketing at America Online), has become a name to know because of

 

 

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what he'll be helping other people to watch: advertising on broadband
video, new interactive TV, and wireless, mobile media platforms.

Schulman says he doesn't want to reinvent the advertising world, but will
focus on ways of extending existing advertising campaigns - primarily TV
ads - into new media that expand their reach and provide more
interactivity and transactional components "We call them transactional
flashpoints," says Schulman.

And with marketers re-embracing interactive media, we call Brand New
World no flash-in-the-pan.

Rick Servaitis

president

GM Mediaworks

lf you're only going to have one client, it might as well be the biggest.

Paul Si|verman

director of media

Novartis Pharmaceuticals Co.

Take two of Silverman's media plans and call us in the morning.

Daryl Simm

CEO

Omnicom Media Group

The chief architect behind PHD and OMD, this former P&G'er is working
behind-the-scenes to keep Omnicom at the top of the media services
game.

Brad Simmons

VP-media services

Unilever United States

Active in front and behind the scenes, Simmons is bringing the marketer's
voice to the media marketplace.

Greg Smith

EVP-dir. of global systems

Universal McCann

information systems don't get the recognition they deserve in most
industries, media included. Universal recognizes this and that's why Smith
is there.

Sir Martin Sorreii

chairman and CEO

WPP Group

Madison Avenue's chief media consolidator and the only royal knight on our
list.

Jim Speros

chief marketing officer, U.S.

Ernst & Young LLP

As you might expect from his company's stock-and-trade, Jim Speros is a
leader in media accountability.

Jim Stengel

global marketing officer

Procter & Gamble Co.

With his marketing budget, buying media isn't exactly a gamble. His recent
speech at the AAAA Conference might set the tone of media buying for the
next ten years.

 

Brett Stewa rt

 

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SVP-director of strategic print planning
Universal McCann
Universally recognized as a strategic print planner.

Jim Surmanek

president and CEO

Media Analysis P|us

Long a dean of media planning (he's got books to prove it), Surmanek's
daring acquisition of media auditing pioneer Hawk Media, has put his
fledgling MAP on the, well, map.

Page Thompson

CEO

OMD North America

Page Thompson may not have actually invented art of communications
planning, but he may have been the first to articulate it, in the U.S.
anyway. Thompson's groundwork has been emulated by others.

His concept of personal media mapping, an approach that literally follows
consumers around throughout their day to determine which media they
use at which intervals to consume media content, has grown into a
revolution in so-called consumer contact planning. He also coined the
concept of "aperture," a term used to describe when a consumer's mindset
is open to a particular advertising message.

Charlie Thurston

president of advertising sales

Comcast

Local cable advertising's billion dollar man. He's got the best inter-
connections in the business.

Rishad Tobaccowala

founder and president

Starcom |P

His broadband internet play is transforming the Web into the television
age. That's a good thing.

David Verklin

president and CEO

Carat

A media agency chief who keeps the other media agency chiefs up at
night.

Bruce Wasserstein

chairman and CEO

Wasserstein Pere|la & Co. and chairman of New York Magazine
Holdings.

if he can make it with "New York Magazine," he can make it anywhere.

Lori We|iinghoff

senior vice president

C|ear Channei Advantage

Making sure out-of-home doesn't become out-of-sight, or out-of-mind.

 

Brian Wieser

VP-dir. of industry analysis

l Magna Global USA

if you don't know the meaning of the word econometrics, then you
probably don't know Brian Wieser.

 

But as director of industry analysis at |nterpublic`s Magna Global USA unit,
Wieser is responsible for developing econometric models that will help

 

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Magna and its clients outthink and out-perform the rest of the advertising
marketplace While the position is not new - Wieser succeeds Andrew
y Sharp, who left Magna last year to join sister agency Universal McCann in a
l similar position - his background is relatively unique for a media buying
unit.

He's a veteran
Jae Mandese is Editor of MediaPost.

 

Recent Media Magazine Articies
The Sell: The Value of Scarcity Dec 29, 1:39 PM
Champagne is simply sparkling wine made in the champagne region of France. Because it can only...
Macro Plan Dec 29, 1126 PM
lt was a big idea for a small town: to virtually drop thousands of copies of...
Targeting: Media Planning Died Last Year Dec 29, 2:00 PM
independent companies have been trying to start up ad auction exchanges for years. Remember the famously...

Column: The Biz -- People Who Need People Dec 29, 1:53 PM
The media business is a great one to be in these days. There are so many...

immaterial World Dec 29, 12:48 PM
Wish fulfillment shouldn't be this hard. All l wanted was a wooden deck on which my...

Crayon`s Colorful Launch Party Dec 29, 1:13 PM
Crayon, a recently launched new marketing agency, is drawing on its knowledge of the latest Web...

The New Next: Mobile ls the 'Always On' Revolution Dec 29, 2:02 PM
Consider this: Eighty percent of U.S. consumers have one, and 60 percent of them take it...

Video Vertigo: Lights, Camera, Context? Dec 29, 1:56 PM
Lately, it seems as if consumers are being courted more aggressively than ever to participate in...

This Trikes Not for Tykes Dec 29, 1204 PM
National Media Services is so small that its chief operating officer is also the director of...

World Wide Web: Wal-Marting Your MindShare Dec 29, 1:34 PM
Control the language and you control the mind. it's the real reason the pen is mightier...
>> Media Magazine Archives

 

 

 

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CNN
SHOW: CNN LARRY KING LIVE 9:00 PM EST
May 14, 2005 Saturday
TRANSCRIPT: 051401CN.V22
SECTION: NEWS; Intemational
LENGTH: 7488 words
HEADLINE: Interview with Sylvester Stallone
BYLINE: Larry King
GUESTS: Sylvester Stallone

HIGHLIGHT:

An interview with Sylvester Stallone.

BODY:

LARRY KING, CNN HOST: We welcome to LARRY KING LIVE an old friend, a good guy, Sylvester Stallone,
actor, writer, director, executive producer and star of the NBC reality show, "The Contender." Editorial director of the
new magazine, "Sly," l have it right here. His new book is "Sly Moves, My Proven Program to Lose Weight, Build
Strength, Gain Willpower and Live Your Dream." We have that here to so there is lots to talk about.

How come none of these have to do with film?
SYLVESTER STALLONE, ACTOR: No, well, after a while
KlNG: What happened?

STALLONE: Well, because fihn has been very good to me and it still has but everywhere l have gone, I guess after
"Rocky" and alter "Rambo," usually the first primary question is just what do you do to stay in shape, what do you eat,
how do you do this, do you live in the gym or whatever? And l thought, okay, it's a little premature at 58, Ithought,
okay, maybe I should just put it all down and see if there is something there that really does strike an honest chord or
something that can be duplicated and I think there is and so that's what the book is really about, what has worked for
me, what hasn't worked, some diet myths, just feeling good, because I think at 45 years old, 40, 45 years old, people
have to make a choice, like, do you want to spend that second half of your life feeling a lot better than maybe you did
the second half or do you just want to keep going downhill.

KING: But does that mean you gave up film or what

STALLONE: No, no, no, no, actually l'm doing -- I just signed to do the next "Rambo" yesterday and it's quite dif-
ferent than you think.

KING; viemam? EXH|B|T

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STALLONE: No, actually, very domestic It is something that could happen to anyone here. He has settled into a
domestic life.

KING: National security?
STALLONE: No.
KING: Really.

STALLONE: No actually he works for, in the military right now there is a problem with drugs and usually like in
bases, Ft. Bragg, right outside the place, meth labs, this that and so you have these police that infiltrate either motorcy-
cle gangs, different kind of gangs and they find out what's going down

KING: So that's what Rambo does?

STALLONE: Well, that's him and his wife.

KING: Oh.

STALLONE: It's part of

KING: When do they shoot?

STALLONE: Well, I am going to be, hopefully it should be five months, six months
KING: Are you excited

STALLONE: And there's also something go on, too, with "Rocky." I might end up fighting Rocky.
KING: Both those characters, of course, made you, Rocky, you don't have to work, right?
STALLONE: No, l don't have to work but I enjoy it.

KING: Imean, in the sense, curses

STALLONE: They're good curses, Larry.

KING: The movie you made with DeNiro

STALLONE: "Copland."

KING: That was a great movie.

STALLONE: Thank you very much.

KING: But people always think "Rambo" and they think "Rocky."

STALLONE: No matter what. When you hit with something like that and of course having done quite a few of
them, it becomes your legacy or your identification

KING: So you accept that?

STALLONE: Oh yeah. As a matter of fact, I wouldn't be here without it so l -- why are you looking a gift horse in
the mouth? Usually a lot of actors and writers and I guess any artist wants to feel as though they are everything on the
spectrum and they are multifaceted but there are certain sides to that facet that really connect to the audience and others
don't as well. Comedy, whatever. So this is what it is. I am considerably, even though I made my life, the beginning of
it, through words, through literature, through writing, I am known to be a physical, so I thought why not KING: By
the way, to your ultimate credit, maybe it hasn't been written in a long time, you really bent the odds The University of
Miami told you the one thing you should not do is act.

STALLONE: Totally.

KING: Get out of this business Get out of drama school. The ring theater, you don't belong here. The "Rocky"
script could have been done by others You could have made cash for the script and gotten out. You insisted you had to
be in it and be involved totally with the production. Where did that gumption come from?

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STALLONE: I think it was a naivete but there is also part of me knowing that I am never going to find a part for
me like this. I was always the mugger, I was always the outcaste, I was always the fellow chasing Woody Allen down
the street.

KING: That movie about Brooklyn

STALLONE: "Lords of` Flatbush." But again, I was kind of the goon. I said, okay, this is the way people perceive
me. You look in the mirror and say right away, oh, some slob. Here l am, the guy from "Notting Hill II" but no, the
world perceives you a different way and so l had to be real, so Ithought, okay, I am always going to be looked at as
kind of this imposing kind of guy or threatening kind of` guy but that kind of man can also have another side of him. We
judge a book by his cover. We automatically assume a guy comes in in a leather coat, hat and cutoff gloves, stay away
from him. Actually, when I was filming it, police pulled me over and said, what are you doing here? What are you do-
ing in the neighborhood?

And we said, "We're doing a film called 'Rocky."' "That creep must be 'Rocky.'" Automatically. Because they didn`t
know who I was. See that, the creep is "Rocky," that's exactly why I am doing this movie, but underneath all that
creepism was a good guy.

KING: And a hell ofa film.
STALLONE: Thank you.

KING: Boxing movies can do very well, There is one coming out, "Cinderella" about Jarnes Braddock. What does
it depend on?

STALLONE: It depends on heart
KING: The story?

STALLONE: Boxing is sort of an inevitability. We know they are going to be pounding each other. That is the least
exciting part of it because if you don't build up the volcanic explosion that's coming and usually if it's always done
through the fighter's eyes it's not as exciting as, okay, let's do it through Adrian's eyes.

Let's do it through her point of view. So right away you take it out of this heavily testosteroned world and give it a
feminine touch and right away become a bit more poetic and that embraces everyone as well as just guys. There are
some great boxing films that are all male driven. That's the greatest mistake there is.

KING: You have to care.

STALLONE: That's the whole thing.

KING: Which you have done in "The Contender." I am not a big fan of reality of shows
STALLONE: Don't break my heart with "The Contender."

KING: I watched "The Contender," I think it is sensational television. You and Sugar Ray do great together. The
shots, the editing is superb, the characters are so real, the kid that died, oh my

STALLONE: I know.
KING: What happened to it?

STALLONE: Well, what happened to it was unfortunately there were some decisions made to move it around and I
think the first show started 20 minutes later after "Fear Factor" and a lot of people turned it off and next week it was
moved after the "Apprentice," did very well but people were confused and a week later it is moved on Sunday night
which is like limbo. People on Sunday nights are either putting their kids to bed, just getting home, but people are not
watching boxing.

So it is going to be pulled. It's unfortunate and I feel sorry for all the participants in it because it was a great launch-
ing pad for all these young men getting another shot at their life.

KING: You are going to pay off for the million, though, right?

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STALLONE: That's going to happen NBC is certainly going to live up to that contract, but unfortunately it looks
like "Contender" is going to go down for the count this year and it's too bad because it was really a good show and Mark
Burnett and all the guys

KING: In the right spot would it have worked?
STALLONE: No question.
KING: The right spot was later?

STALLONE: In the right spot, right after the "Apprentice" for example, we doubled our numbers, so if we had
been after "The Apprentice" we'd be singing a different song but it looks like there was a

KING: There was so much talent involved in there.
STALLONE: Well somebody let us down somewhere along the line but

KING: (INAUDIBLE) STALLONE: you don't know where to put the blame. It really is a very, very big compli-
cated machine, I like all the participants, but whatever it was we ended up in quick sand in a rowboat with a lot of leaks.

KING: Sly Stallone is our guest. Lots to talk about. Health, fitness, a magazine, and Rambo's coming -- don't go
away, we'll be right back.

(BEGIN VIDEO CLIP)

UNIDENTIFIED MALE: I am not meant to be known, I always been walking right through the crowd.
UNIDENTIFIED FEMALE: So basically, you don't trust anybody.

UNIDENTIFIED MALE: My daughter.

UNIDENTIFIED MALE: My family, if I died in bed tomorrow they have nothing but now this is giving me an op-
portunity to give them something to look forward to in life.

(END VIDEO CLIP)

KING: We're back with Sly Stallone. Before we get back to the magazines and the fitness, tell me about Najiv
Turpin (ph) and what happened to him.

STALLONE: Najiv Turpin was a very troubled kid in the way that he -- not troubled in the sense that he had mental
problems but he had a lot of drive and a lot of goals to achieve and he wanted to do that in a very short time and he
wanted to fight, that's all he knew how to do, that's how he believed he would get out of the ghetto.

But he also had a very, very strong sense of pride and I think something happened along the lines that when he did-
n't live he still felt he was going to do something strong, do something effective but when he went horne I believe per-
sonal relationship went into it, something that got to his heart.

KING: Because he had a great little kid,

STALLONE: lt was just, I think, a horrible, tragic emotional moment. Valentine's Day and I think just people were
not being rational.

KING: One of your popular contestants, albeit he lost, dies.

STALLONE: Yes. So when I heard that I go, you're kidding. Oh my God. And I didn't think about the show, I just
thought it was impossible He's 23 years old, he's going to go places win or lose. He's got everything And you start to
really take account of your own life, you realize how fragile and brief and how lucky and we went back to the funeral
and that's when your life really collides with his and you see what he had to fight to get out of where he was going, why
he was motivated, you see his family, who are completely devastated and you walk -~ this show, this is what I meant
about reality shows, this is why I wanted to do it, because you're dealing with people in the real pressure cooker, you
know what I mean, Larry.

It's one thing to be "The Bachelor," you go, yeah, it's great, but the hardest thing is which of these 20 beautiful peo-
ple I am going to end up with. Not a bad thing. And money. Or you get off the "Apprentice" you go back to a nice job.
These people, they go back to -- as tough as it gets.

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KING: How much has your life changed by fatherhood?

STALLONE: I would say 1000 percent The grass used to be green, now the grass is just full of weeds
KING: You almost lost one of your children, that taught you a lot.

STALLONE: My God, Sofia, she had to undergo surgery when she was like three months old.

KING: You were on this show then.

STALLONE: Yes. I was on this show and I was doing "Copland" and 1 thought, oh great, this is going to be a new
revelation and it hits you and you realize all the money, all the fame, all the connections you have means nothing and
now you realize what a doctor is all about he is almost a deity, he is like as close as we're going to get to a religious fig-
ure, he is going to give life or take it. It is up to him. So I developed a profound respect for the medical profession.

KING: She turned out fine.
STALLONE: She's great. Now she nags me, so she is perfectly healthy.
KING: And your wife is an enormous success QVC right? She owns QVC.

STALLONE: She is as levelheaded as you are ever going to fmd, incredibly generous and the worst insult I have
heard ever about her, you know, your wife, let me tell you about your wife, your wife is too nice. You're right, I have
got to work on this

KING: She came to you with the idea of products and selling them on television, did you think

STALLONE: I thought it was silly and almost I still do. It's hard to believe. It's one thing if it's someone else's wife
and you're -- then it's your wife and you're like, I don't believe it. But she's doing it. You don't believe that she has that
extra switch inside and it's like ta-da. And she can sell anything She can sell you bear traps You need a bear trap. I'll
buy it.

KING: She's really something Are you competitive? STALLONE: Yeah, sure. Competitive, but not in the sense
like -- I think there should be ahnost a moratorium on -~ people talk about same sex marriages, I think it's same career
marriages, like two actors marrying, really really difficult But l don't have it. Jennifer feels that she is the single worst
actress on the planet. She is like the antichrist of acting She admits it. But she is a great pitch person. So there is noth-
ing that really crosses over. The only time we have an argument, the only time we fight is like I miss my daughter's re-
citing "Three Blind Mice" and I can't get there on time.

That kind of thing Commitment to the school and being there and being accessible
KING: She's a good mother.

STALLONE: Oh yeah. The best. She is the lioness.

KING: When did -- were you always a fitness freak?

STALLONE: Yeah.

KING: Even in college?

STALLONE: Oh yeah. I started at about 12 only because I was not. I was picked on and I had tremendous issue
and 1 don't think, Larry, we ever get over our issues I think kids growing up, if they were picked on and feeling inferior
at 12, they're going to feel that way at 72. You just deal with it better. I‘m serious

KING: If I get a picture of you looked at you at 12, not much different from now, just the situation changed
STALLONE: Completely.
KING: Still Little Sylvester.

STALLONE: It's there. That's Why a lot of guys, why did Mike Tyson -- even as tough as you are, he has issue
when he was 10 and they are very fragile and they can implode and take you with them and I think where I had these
great inferiority complexes and I thought I need something and when I saw Steve Reeves and I saw "Hercules" I was
like, this is medicinal, this is like perfect medicine, now I feel like l can do something

KING: Were you a body builder?

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STALLONE: No, l was scrawny.
KING: Did you become a bodybuilder?

STALLONE: I became a bodybuilder. But back then bodybuilding was somebody had a cigar in the gym dripping
ashes on your face, can I work in with you. So it really wasn't bodybuilding, it wasn't like

KING: Charles Atlas
STALLONE: Who's Charles Atlas?

KING: We'll be back and ask Sly Stallone about the magazine "Sly." I knew Oprah needed someone on the other
side.

(BEGIN VIDEO CLIP)

STALLONE: You seen anybody that impresses you so far.

UNIDENTIFIED MALE: He may not be the greatest fighter but he cane be the greatest fighter.
STALLONE: You think he can do all the work?

UNIDENTIFIED MALE: I think he can be there with anybody.

STALLONE: Oh, really? Anybody. I'm talking about

UNIDENTIFIED MALE: Yeah, the De la Hoyas of the world.

(END VIDEO CLIP)

KING: We're back with Sly Stallone. The announcement tonight that "Rambo" will return. This will be "Rambo"
number what?

STALLONE: Four.
KING: But you lost Richard Kirner (ph).
STALLONE: Yeah.
KING: What a man.

STALLONE: Whoa, did 1 love him. He is an unbelievable guy. He used to come out with -- I should have brought
this. There's me hitting him with a pie in "Rambo." He is like Colonel Crav (ph) and he's just aggravating me and so he
comes out with Sly is my guy or hits me with a handbuzzer and I‘m trying to stay in character.

KING: He was a wonderful actor.
STALLONE: Unbelievable.
KING: "Flamingo Kid."

STALLONE: First of all, he could do everything He literally had a magnifrcent speaking voice, a radio voice, he
could do it all.

KING: He went fast, didn't he?

STALLONE: And hard. He kicked it. So I thoughtl About his throat cancer and then he developed pancreatic.
KING: And that's -- Tell me about "Sly."

STALLONE: Well, I actually got the idea when Arnold Schwarzenegger became governor.

KING: He still is.

STALLONE: He certame is. He's doing a good job. Tough job. He Was made editor in chief with David Pecker of
doing some of the other bodybuilding magazines like "Muscle and Fitness" and I thought, this is a great idea. I would
like to do a magazine, but how do I approach it. Maybe I could put what has worked for me and what hasn't and then I
looked, you know, the world needs one less bodybuilding magazine, and there are like 400 of them. And there are no

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secrets To build a bicep you go up and you go down. It's been that way since the dawn of time. And this is the way it
works and they tell you a hundred -- they tell you do it this way do it in the sun, holding a muffin.

It's up and down. That's the way it is So let's -- we can have a few exercises in there but let's just deal with different
ideas that are problems or questions that guys, 35, 40, 50 on up have because at a certain point we know the jokes of life
and I love to write stories and little rants about what I think about female relationships what we think about that

KING: Magazine is the most expensive thing to start up.
STALLONE: lt is.

KING: So you need backers. How did this all come about?
STALLONE: I had known David Pecker, who was the star and
KING: But he knows his magazines

STALLONE: He knows his magazines And he runs American Media and he responded right away and you are
right. Here is a statistic. There is 7,500 magazines in the United States, 7,500 and they have magazines for the county,
for the state

KING: (iNAUDrBLE)

STALLONE: Exactly right. They have magazines for guys that like white shrimp. It's a niche thing Every kind of
magazine you can think of. And 2,500 magazines a year go down. So why would you want to do that? All the more rea-
son to get into it. So we came up with a concept interviewing certain people, trying to be out of the box and answering
questions and being more -- l have to be very accountable, in other words, the magazine has kind of an vedgy -- it's a
little -- l wouldn't say sarcastic but playful. There isn't just articles There is an attitude to them.

KING: Are you hands on?

STALLONE: Big time. 1 probably do about ten articles for a magazine. KING: How long before this comes out?
STALLONE: lt comes out right now. lt will be monthly but it's every six weeks

KING: Every six weeks and then eventually monthly.

STALLONE: Monthly, right.

KING: Its concept is health. ls that what

STALLONE: Yeah. lt's health, it's also about mental health. It's about knowing is it worth -- is everyone having the
same problems as me? l hope so. So you share in this magazine that you are not alone, that our thoughts are pretty simi-
lar and that you have kind of a whimsical or a funny outlook on life because really for those who think that life is a
comedy, for those who feel life is a tragedy, you have got to think about it. lt everything really gets to you, if you're so
hung up in the past then it's over. So this -- and l say, guys, l have the same hang-ups you have, here's what l did to get
over them and then we'll interview people like Brooke Burke and we‘ve got Mickey Rourke, Phil Nichols (ph), and
you've got Suge Knight. It's everything in there and l just thought let's just try to do something that is a little refreshing

KING: Ninety percent male.

STALLONE: At first but not really. A lot of women read male magazines Of course a lot of guys read female
magazines but they've got another issue to deal with. But a lot of women read men's magazines and think, oh, this is
what these guys are thinking? Studying up on the enemy here.

KING: What‘s been the reaction?

STALLONE: Fantastic. We -- usually, you do in your first issue like 30,000 magazines on the stand and we were
over 175,000 so we were doing really well.

KING: Sell ads too’?

STALLONE: Starting to sell adds

KING: Like Oprah, you gonna be on every cover?

STALLONE: I don't know, l thought I'd be on the first few. I wouldn't mind. Why, you want to be on one?

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KlNG: No, sir. l noticed, l just turned to one page, the Great Depression, Sly on depression.

STALLONE: No, but it's what I think about depression. By the way, it's going to happen, lt's inevitable Some days
l am going to wake up and hate everything No reason. I have a nice house, a nice bed, everything is wonderful. What
gene, what thing in our subconscious, what in our prirnordial ooze of human past that we drug out of the swamps. Why,
why, why do people just wake up in a bad mood? I don't know. No one knows It isn't worth giving the courtesy of a
shrink visits, it's going to happen again. Deal with it. It's okay. lt will pass Just realize you're not alone, That kind of
thing

KING: This whole idea is a great idea.
STALLONE: lsn't that great?
KING: Now, did the book come from this, this come from the book or did they just?

STALLONE: No. They almost came out -- the book actually was first because the book takes a much longer time
and the book is --the first part of the book is a little bit about my life, not the really seedy part of it but -- talking about
Hell‘s Kitchen and why

KING: (iNAUDiBLE)

STALLONE: Talking about how I felt as though certain movie parts or whatever pushed me to. I would eat differ-
ently for "Cliffhanger" than "Rambo" and then "Copland" and then I realize that food really does dictate a lot of your
food and your attitude and how all diets don't work.

KING: They don't work. The book is "Sly Moves." Great title Sylvester Stallone, written with David Hockman, it
is published by Harper Collins. We'll be right back.

(BEGIN VIDEO CLIP)

UNIDENTIFIED FEMALE: Why is it you never got married, Freddy?
STALLONE: All the best girls are taken.

(END VIDEO CLIP)

KING: We're back. By the way, there's a line of products even involved with Sly Stallone He stops at nothing in
his quest to top...

STALLONE: Shameless.

KING: top his wife And it'll wind up she's selling these on QVC and makes more.
STALLONE: l certainly hope so.

KING: That's the way it's going to go.

So we have the book, "Sly Moves." It deals with your life and then food related to your life.
STALLONE: Right. KING: Are you a health nut?

STALLONE: No, not at all. Oh, God, if you wanted to...

(CROSSTALK)

KING: Pasta, you'll eat...

STALLONE: Please. lf you went into my icebox, you Would think it belonged to an overweight mud wrestler. lt
has everything from Red Bull, to beer, to salami, to cheese But then again, it'll have, you know, broccoli and pome-
granate.

KING: So how do you...
(CROSSTALK)

STALLONE: It's moderation. I tell people, first of all, if you're going to lose weight -- l tell it to the boxers on "The
Contender" -- you cannot expect me to go to Larry King and say, "Oh, yes You know what? l want you to completely

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dress different l don't want you ever to wear those suspenders l want you take the tie off. And l want you to come in
here and wear a tank-top every night."

You say, "l can't function l don't feel comfortable." Well, same thing You take people out of their food zone, and
it's only a temporary situation l believe that there are only about 25 foods that you basically eat and love, and you do it
over.

You go to a restaurant and you say, "You know what? Tonight, l'm going to try the Boston scrod."
KlNG: Forget it.

STALLONE: You're not.

(CROSSTALK)

STALLONE: You're going to go, "l'm hear for a steak. l'm hear for this I came to this restaurant because l like
that." And usually, if you're a pasta guy, it's only a certain kind of pasta. That's what you like.

KING: So what do you tell people?

STALLONE: So l tell people, when they buy these diet books, and they see like, "Seven Days," and it's orange ruf-
fie (ph), and then take Laughing Cow string cheese to work with you, and have that at 2:00 -- you're not going to have
it. It's not going to work, lt's ridiculous

So whatever you're doing, if you're eating nine pizzas a day, eat eight. And then a beginning -- l say for the first
five or six months, just reduce Even if it's horrible food you're eating, try shrinking that. At least they can deal with
that. They don't have -- I mean, you don't have to go running into the supermarket, and throwing everything out of their
cupboards, and you know, jumping up and down on Lays potato chips...

KING: Come on You can eat half a baked potato instead of a whole baked potato.
STALLONE: That you can deal with, right? That you can say, "l can deal with that."
KING: Right.

STALLONE: But if l tell you, "No, l want you to have a candied yarn and a brussel sprout, but one olive, take out
the pimento." You're going to say, "You know what?"

(LAUGHTER)

You can't do it. So all l know is this has worked for me, l have gone to diets that are so radical where milk, and wa-
ter, and fish -- and l got down to 2.4 body fat. Mr. Limpy (ph) at that time was 4, OK? l got to the point that I was an
anatomy chart. l had veins in my hair. l couldn't remember my name l was a drool cup.

l was a total -- l mean, l would sit there -- I would lose a spelling bee to an orangutan. l was gone. l had nothing
But l was sure good for "Rocky," l'll tell you what. lt was perfect for the part.

But l fell apart. And then l got into a spiraling situation where l didn't want food anymore l became almost bu-
limic, all right? l just lost it, which is a first. l've never been to that, but l almost did.

And l said, "Whoa, what is happening now?" Now, it's taken over, this vanity thing, that you don't want to lose it.
Well, no one can maintain that. lt's a temporary situation You have to get back to eating real food.

So then l went the other way, you know, in "Copland," gaining 40 pounds And l understand what ravaging down
carbohydrates. All of a sudden -- in four months, l went from like best abs to like a giant bodice (INAUDIBLE) l was,
you know, seriously the Michelin dude.

And l developed sciatica, heart palpitations. l had a ulcer.

KING: But boy, it was a good role

STALLONE: And boy, l'll tell you what, and it was all worth it, OK?
(LAUGHTER)

l would go into the Canadian Pancake House where -- for a lot of people don't realize it. They would serve pan-
cakes that double as oxen's wheels l don't know if you've ever saw it. KING: No.

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STALLONE: Oh, oh, my God. You never saw it? Twelve pound pancakes. Two six-pound pancakes. Obviously,
they went out of business

KING: Who were these people?

STALLONE: And they had more homeless people hanging outside of that place, because you knew that they'd
need it.

KING: You notice how you said, "We always revert back to what we were"?

STALLONE: Yes.

KlNG: You said, "lcebox." You're making me...

(CROSSTALK)

STALLONE: Don't bring it up. My wife does that, too.

KlNG: "lcebox."

STALLONE: No, you don't.

KING: That's right out of the east...

(CROSSTALK)

KING: Italian and lew grew up in the east, you had an icebox. And it came by with the ice...
(CROSSTALK)

STALLONE: l can't believe l said that.

KlNG: l heard you say "icebox."

STALLONE: What is it like -- what is the word we use for, like, you know, the single-engine plane?
KING: And you also said you were bulimic, close to being bulimic?

STALLONE: Yes, close l almost went that far.

KING: Throwing up your food?

STALLONE: Yes, on "Rocky Ill," to get down -- yes, to do such a drastic change in one's body, you have to almost
alter the whole chemistry to it. And doing that, you're starting to mess with the brain And you don't want to do that.

So l realized that diets could be incredibly dangerous And you find yourself falling into that pattem. And l saw it.
So l went -- l swung the other way.

KING: Now, also in this book, of course, is exercise
STALLONE: Exercise...
KING: l think it may be the hardest thing for people to get into a program of.

STALLONE: It is. lt is, because l think that exercise -- you have gain without pain l don't like pain And I've done
-- again, the same as what l told you before with the food. I've gone to the 60 sets a day, seven days a week, to the point
where my body broke down lt can't work.

The body needs to rest. lt needs a lot less exercise than you think. lt needs to have it in a regular -- I do it three
times a week an hour. That's not so hard. lf you do that, in conjunction with shrinking the amount of food you have --
not changing your food, just shrinking -- and something you enjoy, and start casually -- l don't care if you're in the gym
for six minutes

KING: Well...

STALLONE: Yes, seriously. Open a letter. Do something

KING: Walking is a terrific exercise

STALLONE: That, strangling your toothpaste tube, do something, you know what l mean?

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KlNG: Everything burns calories
STALLONE: Everything burns calories. You know, scream at the neighbor. Like, let it out.

KING: What do you tell people, though? l mean, isn't it hard to make that-- when you open your eyes in the mom-
ing, you don't want exercise Nobody wants to exercise

STALLONE: Oh, no.
KING: You feel great after you exercise Nobody says, "Wow, l can't wait for the treadmill."

STALLONE: No. And therein lies that choice where you go, "OK. l don't want to do this That must mean it's good
for me, because if l want to do it, it's got to be easy."

So right away, l know if l don't want to do it, it's good. It's like because the brain -- and l realize my brain is not
working in conjunction with my needs My brain is going, "Don't do this l don't want to sweat. Let's go down and have
some coffee Let's be cool. The papers are downstairs Come on!"

And then there's the other side going, "Then you're going to hate yourself in the afternoon Take that 15 minutes
and go"... KING: And boy, you will.

STALLONE: And there it is. And there's the battle And when you do that 10 minute thing And here's what l rec-
ommend for people in the morning, is just five minutes of just -- put on the CNN and just try to touch your toes. lf you
can just get your hamstrings loose in the morning -- just your hamstrings -- you're corning out of the house feeling like,
you know, Ray Bolger in "The Wizard of Oz." You're clicking your heels

Just your hamstrings l'm not talking about sitting there working up a lather. Approach it gradually, and then you're
going to want more

KING: Our guest is Sylvester Stallone The book is "Sly Moves: My Proven Program to Lose Weight, Build
Strength, Gain Willpower, and Live Your Dream." The magazine is “Sly." We've got other things to talk about. We'll
get to that right after this

KlNG: We're going to touch some other bases with Sly Stallone

By the way, is this "Rambo" movie at all going to be political? You know, a lot of them complained the early ones
were kind of...

STALLONE: No, no.

KING: right-wing, gung-ho.

STALLONE: No, because he's past that. He's really assimilated into the, l guess, the tapestry of America.
KING: He's got a job?

STALLONE: Right. He's got a job. But see, his job has put a lot of pressure on the wife And now he's taking the
family away to a secluded cabin and little does he know...

KING: Trouble.

STALLONE: Big time Because you know, when you go in these certain areas, there are certain pockets in Amer-
ica that these people lived there like 150 -- like "Deliverance." Think that.

KlNG: Oh, boy.
STALLONE: You're out of your...
KlNG: White supremacists, too?

STALLONE: Well, white supremacists have been done. But they are that kind of group, they're very clan-ish. And
you know, this thing is going -- they run things..

KlNG: 'l'hey take him on. STALLONE: They do.
KING: That's a great -- l like that concept

What about women boxers? Do you like the idea?

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STALLONE: You know, l -- again, it's not a bad idea, because l think women are more ferocious than men l really
do. You know, l've seen women when you push their button and you just want to hide every sharp object in the house
because they just take you, the house and they just go completely implode, like, do not-- l mean, they can really get
wound up.

So l think there's a -- and they're incrediny competitive l mean, you just put -- what is it? There is a -- l don't know
if it was Balzac or something When you see two women hugging each other, it's like -- l get the same feeling, like,
when two fighters are touching gloves before a iight. You know what l mean?

KlNG: "I don't like you."

STALLONE: Yes, "How are you?" But you lmow there's that thing And l interviewed a female boxer in my maga-
zine, the one that actually was in "Million Dollar Baby"...

KlNG: And knocked her out?
STALLONE: Yes, and l said...
KING: She's some fighter, right?

STALLONE: She's unbelievable She's fighting Ali's daughter. And l said, "ln reality, did you ever have a situation
where your boyfriend were like" -- "Yes, yes, l had to knock him out." l said, "Did that kind of put a cramp in the rela-
tionship?" "Well, he was a karate instructor."

l said, "Wait a minute You knocked out a karate instructor?" She goes, "Yes, but we hadn’t learned to communi-
cate."

l said, "That's not the point." For you to understand -- l don't want to go out with a girl who can smash my ribs in l
really don't.

(LAUGHTER)
KING: Were you ever a boxer?

STALLONE: l was a -- l could move well. But l thought l was a boxer until l got into the big ring With Roberto
Duran.

KlNG: You got into the ring with...

STALLONE: l could into the ring with him and Joe Frazier. And they took my arms, and they became like bad fin-
ger paintings

KING: Just hitting your arm? STALLONE: Oh, forget it. And it got to the point where they were so good that
Duran got tired of hitting me -- when he started making sounds of where he could hit me l said, "Stop with the beeping,
all right? You can get me whenever you want to."

And moving with Ray Leonard, there's a part of me saying, "You know, l bet l could give him a run for the
money." And then you watch him beat up (INAUDIBLE) can you beat Pete Sampras? No. Can you beat -- why would
you think -- and you realize how good they are.

KING: Did you like "Million Dollar Baby"?
STALLONE: Yes, it's a fantastic -- l did.
KING: That's good moviemaking, right?

STALLONE: It's great moviemaking. And it's simple It's simple Again, you're, you know -- it engages the audi-
ence And l wish we had a little bit more of that, you know?

Yes, then the CGI has done sorrie wonderful things, but it's also made it a little...
KlNG: You're talking about the computer?

STALLONE: Yes, you know, to me, the biggest problem was in a lot of ways is when a guy could zip up a rubber
suit with muscles on it -- it kind of took the...

(CROS STALK)

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STALLONE: You know, now you don't even have to get in shape for it, you know what l mean? And when you
don't get in shape for it, sometimes you don't feel it quite as much. A lot of people say, "Well, what is this, sour
grapes?" l'm just telling you what l think.

When you get in shape for something you have to Work really hard, you spent six months doing it, you're commit-
ted to that.

KlNG: What was it like doing that movie in the mountains?
STALLONE: Oh, it was...

KlNG: What was that movie again?

STALLONE: lt worried me, for one...

KING: What was the name of it?

STALLONE: "Cliffhanger."

KING: "Cliffhanger." Now, that wasn't done with computers, right?
STALLONE: No, Iwish. l wish.

KING: You swung through the...

(CROSSTALK)

STALLONE: Yes, it was like a mountain, put a guy on it, and...

(CROSSTALK)

STALLONE: and you go. And what happens is, l was very scared at first, really scared. l'm not a heights guy.
KlNG: You're kidding.

STALLONE: No, l'm not. But what happens is, it's sick. After about a month, you start getting silly. You start do-
ing goofy things, like guys do. And before you know it, it's like, "Hey, can you stand on one foot here and catch a foot-
ball leaning over the edge?" And they do it.

And then l realized it wasn't just me The stuntrnen during their lunch hour would hang a crane over the side and
bungee jump. Understand, the bungee jumping, when the rope would eventually play out, there's still 7,000 feet down
So they've got to climb back up to bungee -- it was like, OK. lt was a tough one

And then these white-out storms would roll in And the temperature would drop...
KING: What was that shot?

STALLONE: That was shot in the Austrian-ltalian border of Cortina, which is the Dolomites, it's called.
KING: The villain was great, it was...

STALLONE: Oh, isn't that great? John Lithgow.

KING: John Lithgow. l hated him.

STALLONE: You kill two people, they call you a murderer...

(BEGIN VIDEO CLIP)

JOHN LITHGOW, ACTOR: kill a million, and you're a conqueror. Go figure
(END VlDEO CLIP)

STALLONE: go figure

(LAUGHTER)

KING: That's what he said.

STALLONE: Yes.

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KING: When you signed on to that, you knew it would be... STALLONE: l knew it would be high, but l didn't
know it would be so, like -- l didn't know at that time they were expecting us to actually hang off the sides No, really. l
didn't think -- and there was Michael Rooker and a couple guys enjoyed it. They would really push the -- oh, l mean,
enjoyed it. They like thought it was funny.

Some people are born with that...
KING: Crazy.

STALLONE: Yes.

KING: Who directed that?
STALLONE: Renny Harlin directed it.

KING: Now, where did he have to be when all this was going on? Where's the director when you're shooting scenes
in mountains? Where is he?

STALLONE: Well, he sure wasn't on the edge
(LAUGHTER)
KING: l mean, do you hear him?

STALLONE: No, actually, all you hear is that inner voice going, "Get the check. Make sure you're getting paid for
this, because it's" -- no, you just get into the cold...

KING: And you haven't been seriously injured?
STALLONE: Yes, a lot.
KING: A lot?

STALLONE: Oh, yes, yes Actually, in the book, l had a -- l'm the first, like, bionic guy you probably ever met. l
have a huge cable here where I tore out my chest getting into a bench-pressing contest with one of the strongest men in
the world. lt was ridiculous

I've gotten -- these fingers are all shattered, the knuckles are gone...
KING: From movies and otherwise?
STALLONE: Yes, usually, for movies, there have been some real bad injuries Real bad injuries

KlNG: We‘ll take a break and be back with our remaining moments with Sly Stallone And we're going to delve
into some -- a product he's got. Watch. We'll be right back.

KING: OK, now l have iri front of me "Stallone High-Protein Pudding," vanilla creme. Twenty grams of protein,
low carbs, sugar- free, 108 calories.

STALLONE: What a misprint. How dare them do that.
KING: One carb. ls this a whole line of products?

STALLONE: You know what? Again, l believe that what nature takes away you've got to put back. And regular
food is not going to do it, unless you sit there, and you're raised on a farm, and you have that kind of biotanical grocery
store next to you.

l believe supplements are the key for people It's really important, for energy, for breaking down, for burning ther-
mogenics, for losing weight And l thought, you know what? The one thing -- l've seen a thousand of these protein bars,
protein bars Well, it would take 30 of these cans to equal one protein bar amount of carbohydrates. So l said -- and yet l
get the same amount of protein

So l thought, "Why don't l try something like pudding?" And l go, "Pudding, Imean, kind of kooky, pudding,
whatever." Then l thought, "Yes, pudding, That hasn't been around for a while." So a guy started working on it, and we
all got together...

KING: So only pudding? lt's the only product so far?

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STALLONE: Well, yes -- no, no, no...
(CROSSTALK)

STALLONE: l do a thing called lean fire (ph), which is for energy. And l thing for male testosterone, which is
forcity (ph), which really -- l mean, l'm warning you right now. This could be hazardous to your health.

KING: Put Viagra in...

STALLONE: Yes, it's like that. You'll be jousting up and down the street.

KlNG: Where do you obtain these products? Where do you obtain these products?
STALLONE: Right now, they're at GNC and other...

KING: Well, let's try it.

STALLONE: Yes, let's try it. Yes, l got the easy one

KING: Some of` these things,..

STALLONE: lknow. Mine is broken You did get the crappy one You see, this is where bodybuilding comes in
handy.

KlNG: This is good. STALLONE: It's not bad.
KING: No, no, no, not bad?

STALLONE: Thank you, This is, again, 20 grams of protein, and it's in a pudding form. So children eat it, you eat
it. You can take it to work. lt's like a meal...

KING: And only 100 calories

STALLONE: A hundred calories

KING: Twenty calories from fat, twenty fat calories

STALLONE: No.

KlNG: lt says 20 fat...

STALLONE: lt does say 20 fat calories, right. That's it.

KING: Two grams of total fat.

STALLONE: Right. And about 1.5 carbohydrates, which is nothing
KING: A lot of potassium.

STALLONE: It's fantastic. Potassium is what keeps those muscles firing
KING: And no sugar? Now, how do they do that?

STALLONE: lsn't that amazing?

KING: And it comes in chocolate, vanilla, other flavors?

STALLONE: Well, yes We just developed banana, lemon, whatever. l mean, l'm starting to feel like a traveling
salesman But l'm really proud of this stuff, because...

KING: You can have four of these a day.

STALLONE: it is, you know, really.

KING: And you get it at GNC?

STALLONE: Exactly right.

Coming up next on the next segment, nasal hair. We'll have nasal hair remover. Thank you very much.

KING: Sly will be back next week, Nasal hair remover.

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STALLONE: That's right Bug sweepers.

KING: Also gets it out of the ears

(LAUGHTER)

Why did we bring up this when we're eating?

STALLONE: Ah, but you know what? To take the onus off of eating, to take the -- you know, l enjoy this...
KING: It's a great snack.

STALLONE: Thank you, And your kid will eat it. And l thought, "Why not?" You know, it's one thing -- it's great
l'm really appreciative about fihns and having that -- taking that journey. And l still want to take it some more

But l thought, you know, Arnold was really smart. l'm serious Arnold, some of the other actors from by-gone eras
who took their celebrity and moved -- remember how Cary Grant was one of the Faberge, and he went to go on to dif-
ferent things?

And l said, "Why not? Whyjust" -- is there some kind of religious experience of just being...
(CROSSTALK)
KlNG: Supposed to be, it's a putdown

STALLONE: No, but it's not true l'm looking today and l'm -- when Laurence Olivier stepped out and did Polar-
oid, all bets were off.

KING: Correct.
STALLONE: All bets were off. And l say, "Why not? Why not use the entire experience?"
KlNG: De Niro and American Express

STALLONE: Please. Julianne Moore and -- l mean, you see them all. You see them on DTV (ph). And l thought,
you know -- because at first, l was incredibly stand-offish about it.

KING: You were?
STALLONE: Yes. But l'm going, "You know, excuse me. Aren't you pulling yourself a little holier than thou?"
KING: Anything you want to do you haven't done?

STALLONE: Not really. l mean, l wish l could go back and change a few things But you know, that's the bane of
everyone's existence, is like the n'ustration. But l would like to -- l wish "The Contender" could have gone on more,
only because -- not that it's such a financial bonanza, but it really served a purpose

It's where l live l love coaching You know, l love seeing people step up and do things that are extraordinary. l
love that. Since that is what it is, l think the next thing will be, "l enjoy this." Again, it's all about, you know, trying to
make lives a little bit better. And l'm trying to figure out what to do, you know, keep that family going You know, hav-
ing a great time

KING: Want more kids?

STALLONE: Not more kids, l just want to get as much quality life out of our lives while we're here, you know?
KlNG: You want to see them grow-up and...

(CROSSTALK)

KlNG: How old are you now?

STALLONE: l'm 58 and a half, three-quarters Actually, about eleven-tweths.

KlNG: Well, you'll see them grow up, Those good genes, you have good genes.

STALLONE: Yes, I've got good genes.

KING: Because how long did you dad live?

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STALLONE: l think he's like 86 now, 85. My mother is 41, so l won't go there
KING: No, I know your mother.

STALLONE: l think she's actually losing time

KlNG: She thinks she is

STALLONE: My mother will be 12 in a couple...

KING: How‘s Frank?

STALLONE: Frank is great Frank is very, very good for -- he was responsible for picking a lot of the guys on
"The Contender." He's good,

KlNG: He did a goodjob.

STALLONE: Frank is going to be one of the...

(CROSSTALK)

KlNG: The book is "Sly Moves." The magazine is "Sly." The product is "Stallone High-Protein Pudding."
STALLONE: Did we forget anything?

KlNG: Jennifer will be selling all this on QVC a week from Saturday.

STALLONE: lt‘s shameless, but I love it.

KlNG: Sly Stallone STALLONE: Thank you, Larry. Oh, thanks

KlNG: Thanks for joining us on this edition of LARRY KING LlVE. Stay tuned for more news around the clock
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